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 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     ) No. 3:11-cr-00014-CMK
                                   )
12             Plaintiff,          ) ORDER TO DISMISS
                                   ) COMPLAINT AS TO DEFENDANT
13        v.                       ) KRYSTAL R. HALL
                                   )
14   DUANE E. POOLE                )
     MASON L. HALPENNY,            )
15   NATHAN W. BIRD, and           )
     KRYSTAL R. HALL,              )
16                                 )
               Defendant.          )
17   ______________________________)
18
          Upon motion by the United States, it is hereby ordered that
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     the Complaint in this case (Docket #1) be dismissed as to
20
     defendant Krystal R. Hall.
21
          IT IS SO ORDERED.
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     Dated: April 12, 2012
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